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 4   Fax: (916) 447-2988
 5   Attorney for Defendant
     JAVIER MARQUEZ
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                               Cr. S-06-306 DLJ
12
                             Plaintiff,                      STIPULATION AND ORDER RE:
13                                                           CONTINUANCE OF STATUS
                                                             CONFERENCE AND EXCLUSION OF
14           vs.                                             TIME UNDER SPEEDY TRIAL ACT
15   LEONEL ZAMORA CHAVEZ, et al.
                                                             Hon. D. Lowell Jensen
16                           Defendant(s).
17
                                                                       STIPULATION
18
            Plaintiff, United States of America, by and through its counsel, Assistant United States
19
     Attorney Jason Hitt, and defendant Leonel Zamora Chavez, Javier Marquez, and Frederic Joseph
20
     Macias, by and through their respective counsel, Michael L. Bigelow, Hayes H. Gable III, and
21
     Christopher Haydn-Myer agree and stipulate to vacate the existing hearing date in the above-
22
     captioned action, September 18, 2007, and to continue the matter to October 9, at 9:00 a.m., for
23
     status conference.
24
            The reason for this continuance is that the government and defendants continue to negotiate
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     a resolution of this case and the additional time is necessary to complete these negotiations.
26
     Additionally, as to defendant Marquez, further investigation is ongoing which may affect the
27
     ultimate resolution of his case. The parties further agree and stipulate that the period for the filing
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     of this stipulation until October 9, 2007, should be excluded in computing time for commencement
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 1   of trial under the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. §
 2   3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow reasonable time
 3   necessary for effective presentation.
 4          It is further agreed and stipulated that the need of defense counsel to prepare exceeds the
 5   public’s interest in commencing trial within 70 days.
 6          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 7
 8   IT IS SO STIPULATED
 9   DATE: September 12, 2007                                       s/Hayes H. Gable, III for
                                                                   MICHAEL L. BIGELOW
10                                                                 Attorney for Defendant
                                                                   LEONEL ZAMORA CHAVEZ
11
12                                                                  s/Hayes H. Gable, III
                                                                   HAYES H. GABLE, III
13                                                                 Attorney for Defendant
                                                                   JAVIER MARQUEZ
14
15                                                                   s/Hayes H. Gable, III for
                                                                   CHRISTOPHER HAYDN-MYER
16                                                                 Attorney for Defendant
                                                                   Frederic Joseph Macias
17
18   DATE: September 12, 2007
                                                                    s/Hayes H. Gable, III for
19                                                                 JASON HITT
                                                                   Asst. U.S. Attorney
20
21                             ORDER FINDING EXCLUDABLE TIME
22   For the reasons set forth in the accompanying stipulation and declaration of counsel, the status
23   conference in the above-entitled action is continued to October 9, 2007, at 9:00 a.m. The court finds
24   excludable time in this matter from September 18, 2007, through October 9, 2007, under 18 U.S.C.
25   § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow reasonable time
26   necessary for effective presentation. For the reasons stipulated by the parties, the
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 1   Court finds that the interest of justice served by granting the requested continuance outweigh the
 2   best interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A),
 3   (h)(8)(B)(iv).
 4   IT IS SO ORDERED.
 5
 6   DATE: September 12, 2007
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                                                                 HON. D. LOWELL JENSEN
 8                                                               Senior U.S. District Court Judge
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